Case 1:24-cv-05492-ELR   Document 33-6   Filed 04/07/25   Page 1 of 4




        Exhibit E
                         Case 1:24-cv-05492-ELR     Document 33-6     Filed 04/07/25    Page 2 of 4
                                                                                                OFFICE OF DEFECTS INVESTIGATION



                                                     ODI RESUME
                                   Investigation:EQ22001
      U.S. Department
                                   Prompted By: Recalls: 20V107,20V630,20V701,21V127,21V650,
      of Transportation
                                                 22V077,22V162
      National                     Date Opened: 04/01/2022           Date       01/07/2025
      Highway                                                        Closed:
      Traffic Safety               Investigator: Choon Lee           Reviewer: Alexander Ansley
      Administration
                                   Approver:      Tanya Topka
                                   Subject:       LGES High Voltage Battery Failures


                                   MANUFACTURER & PRODUCT INFORMATION

       Manufacturer:            LG Energy Solutions
       Products:                LGES high voltage batteries and their components
       Population:              138,324
       Problem                  Internal failures in high voltage batteries produced by LG Energy Solutions
       Description:

                                         ACTION/SUMMARY INFORMATION

       Action: Close Equipment Query (EQ)
       Summary:
       On April 1, 2022, the National Highway Traﬃc Safety Administration (NHTSA) opened an
       Equipment Query (EQ) to contact and obtain information from LG Energy Solutions (LGES), a
       supplier of high voltage batteries, and its purchasers that received the same or similar high
       voltage batteries as identiﬁed in recalls for Mercedes Benz 20V107, Hyundai 20V630, General
       Motors 20V701 and 21V650, Hyundai 21V127, Stellantis 22V077, and Volkswagen 22V162. The
       purpose of contacting these companies was to 1.) make the companies aware of the defects as
       described in the aforementioned recalls, 2.) have those companies determine the impact, if any,
       those defects have on the vehicles they manufactured, and 3.) ensure safety recalls are
       conducted as appropriate.



       On April 4, 2022, the Recall Management Division (RMD) issued an Information Request (IR) to
       LGES requesting: 1.) LGES provide a list of all customers that received the same or similar LGES
       high voltage batteries, 2.) the submission of a Part 573 Defect Information Report (DIR) to NHTSA
       or an explanation as to why LGES will not supply a report, and 3.) speciﬁc information related to
       the structure, materials and location of the manufacturing plant of the high voltage battery.



       On May 2, 2022, LGES responded to NHTSA’s IR, explaining that high voltage batteries contain
       three primary components: cells, modules, and packs. LGES stated that cells, modules, and packs
       are “manufactured in a separate process and customized to meet the speciﬁcations and
       tolerances of a speciﬁc OEM’s design and performance requirements.” LGES further noted that,


Investigation: EQ22001                                                                                  Close Resume Page 1 of 3
       due to this highly customized process, each battery line is unique to each OEM and its
       application,Case
                    and,1:24-cv-05492-ELR      Document
                        therefore, LGES will not submit a 33-6    Filedto04/07/25
                                                          DIR related               Page 3 ofrecalls.
                                                                          the aforementioned  4



       On October 5, 2022, RMD issued a follow-up IR to LGES requesting a list of all purchasers of LGES
       high voltage battery cells, modules, or packs for automotive applications within the past ﬁve
       years and intended for the U.S. market and territories.



       On November 7, 2022, LGES responded to the follow-up IR providing a list of purchasers of LGES
       cells, modules, or packs. On January 20, 2023, RMD reached out to the listed light vehicle
       manufacturers requesting they submit a Part 573 Recall Report or provide a detailed explanation
       as to why they would not be submitting a report. The responses from the vehicle manufacturers
       were generally consistent with LGES’s assertion that each high voltage battery application is
       unique to each model of vehicle. They also explained that the defects described by the subject
       recalls were not all identical and there was insuﬃcient evidence at that time to suggest a DIR was
       necessary.



       In the course of this EQ, additional safety recalls were announced. On May 25, 2023, Jaguar Land
       Rover (JLR) notiﬁed NHTSA of a safety-related defect in certain 2019-2024 Jaguar I-PACE vehicles,
       in which the high-voltage battery may overheat. This ﬁling was assigned Recall No. 23V369. On
       September 8, 2023, Ford Motor Company (Ford) notiﬁed NHTSA of a safety-related defect in
       certain 2020-2022 Lincoln Aviator and Ford Explorer vehicles equipped with 3.0L PHEV engines, in
       which a manufacturing defect in one or more of the high voltage battery cells may result in an
       internal short circuit and battery failure. This ﬁling was assigned Recall No. 23V626. On December
       13, 2023, Porsche Cars North America (Porsche) notiﬁed NHTSA of a safety-related defect in
       certain 2021-2023 Porsche Taycan, 2021-2022 Taycan 4S, Taycan Turbo S, Taycan Turbo, Taycan 4
       Cross Turismo, Taycan 4S Cross Turismo, Taycan Turbo Cross Turismo, 2022 Taycan GTS, and
       Taycan GTS Sport Turismo vehicles, in which the high-voltage battery may experience a short
       circuit within the battery modules. This filing was assigned Recall No. 23V-840. On December 20,
       2023, Volkswagen Group of America (VW) notiﬁed NHTSA of a safety-related defect in certain
       2020-2022 E-Tron Sportback Quattro and 2019-2022 E-Tron Quattro vehicles, in which the high-
       voltage battery modules may overheat. LGES was identiﬁed as the supplier of the high voltage
       batteries in each of these recalls. This filing was assigned Recall No. 23V867.



       On March 7, 2024, in response to these additional recalls conducted by JLR, Ford, Porsche and
       VW, RMD issued another follow-up IR requesting LGES explain how the safety defects identiﬁed in
       a total of 9 recalls, which involve charge limit remedies or “anode” failures, are not the same or
       similar defects necessitating a DIR be ﬁled with NHTSA in accordance with 49 CFR 573.3(f).



       On May 1, 2024, LGES responded stating, “(i) not all of the OEMs implemented charge limits (and
       there are some diﬀerences in implementation among several that did); and (ii) the cell defects, to
       the extent identiﬁed at this time, are diﬀerent among the various products.” LGES also stated
       that the root cause has not been fully determined in several of the recalls. LGES concluded that,
       since each vehicle manufacturer’s application is unique in its specifications and production, the


Investigation: EQ22001                                                                           Close Resume Page 2 of 3
       root cause of the defect has not been determined in some of the recalls, and because the recalls
       in which a Case  1:24-cv-05492-ELR
                  root cause                 Document
                             have been determined       33-6
                                                  are not       Filedacross
                                                           common     04/07/25    Pagemanufacturers,
                                                                            the various 4 of 4
       LGES would not submit a Part 573 Recall Report for the matter.



       The EQ is closed; however, NHTSA will continue to monitor and review all available reports and
       other data for like conditions and may re-open this query or initiate a new query or other
       investigation, as appropriate. The closing of this EQ does not constitute acceptance of LGES’s
       interpretation of NHTSA regulations as outlined in its May 1, 2024 response. Specifically, NHTSA
       does not adopt LGES’s assertion that the battery cells at issue are customized such that they are
       not “installed in the vehicles of more than one manufacturer” under 49 C.F.R. § 573.3(f).




Investigation: EQ22001                                                                         Close Resume Page 3 of 3
